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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                               Case Nos.:   3:07cr57/MCR
                                                              3:09cv349/MCR/EMT

DAVID ISAIAH ROGERS
___________________________/


                                       ORDER
       This cause comes on for consideration upon the magistrate judge’s Report and
Recommendation dated May 8, 2012. (Doc. 379). The parties have been furnished a copy
of the Report and Recommendation and have been afforded an opportunity to file
objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made a de
novo determination of any timely filed objections.
       Having considered the Report and Recommendation, and defendant’s objections
thereto timely filed (doc. 382), I have determined that the Report and Recommendation
should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.    The magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
       2.    The second amended motion to vacate, set aside, or correct sentence (doc.
348) is DENIED.
       3.    A certificate of appealability is DENIED.
       DONE AND ORDERED this 10th day of August, 2012.



                                           s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           CHIEF UNITED STATES DISTRICT JUDGE
